Case: 1:03-cr-00978 Document #: 567 Filed: 06/22/06 Page 1 of 28 PageID #:2723
Case: 1:03-cr-00978 Document #: 567 Filed: 06/22/06 Page 2 of 28 PageID #:2724
Case: 1:03-cr-00978 Document #: 567 Filed: 06/22/06 Page 3 of 28 PageID #:2725
Case: 1:03-cr-00978 Document #: 567 Filed: 06/22/06 Page 4 of 28 PageID #:2726
Case: 1:03-cr-00978 Document #: 567 Filed: 06/22/06 Page 5 of 28 PageID #:2727
Case: 1:03-cr-00978 Document #: 567 Filed: 06/22/06 Page 6 of 28 PageID #:2728
Case: 1:03-cr-00978 Document #: 567 Filed: 06/22/06 Page 7 of 28 PageID #:2729
Case: 1:03-cr-00978 Document #: 567 Filed: 06/22/06 Page 8 of 28 PageID #:2730
Case: 1:03-cr-00978 Document #: 567 Filed: 06/22/06 Page 9 of 28 PageID #:2731
Case: 1:03-cr-00978 Document #: 567 Filed: 06/22/06 Page 10 of 28 PageID #:2732
Case: 1:03-cr-00978 Document #: 567 Filed: 06/22/06 Page 11 of 28 PageID #:2733
Case: 1:03-cr-00978 Document #: 567 Filed: 06/22/06 Page 12 of 28 PageID #:2734
Case: 1:03-cr-00978 Document #: 567 Filed: 06/22/06 Page 13 of 28 PageID #:2735
Case: 1:03-cr-00978 Document #: 567 Filed: 06/22/06 Page 14 of 28 PageID #:2736
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Case: 1:03-cr-00978 Document #: 567 Filed: 06/22/06 Page 16 of 28 PageID #:2738
Case: 1:03-cr-00978 Document #: 567 Filed: 06/22/06 Page 17 of 28 PageID #:2739
Case: 1:03-cr-00978 Document #: 567 Filed: 06/22/06 Page 18 of 28 PageID #:2740
Case: 1:03-cr-00978 Document #: 567 Filed: 06/22/06 Page 19 of 28 PageID #:2741
Case: 1:03-cr-00978 Document #: 567 Filed: 06/22/06 Page 20 of 28 PageID #:2742
Case: 1:03-cr-00978 Document #: 567 Filed: 06/22/06 Page 21 of 28 PageID #:2743
Case: 1:03-cr-00978 Document #: 567 Filed: 06/22/06 Page 22 of 28 PageID #:2744
Case: 1:03-cr-00978 Document #: 567 Filed: 06/22/06 Page 23 of 28 PageID #:2745
Case: 1:03-cr-00978 Document #: 567 Filed: 06/22/06 Page 24 of 28 PageID #:2746
Case: 1:03-cr-00978 Document #: 567 Filed: 06/22/06 Page 25 of 28 PageID #:2747
Case: 1:03-cr-00978 Document #: 567 Filed: 06/22/06 Page 26 of 28 PageID #:2748
Case: 1:03-cr-00978 Document #: 567 Filed: 06/22/06 Page 27 of 28 PageID #:2749
Case: 1:03-cr-00978 Document #: 567 Filed: 06/22/06 Page 28 of 28 PageID #:2750
